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APPEARANCE SHEET
FOR THE UNITED STATES DISTRICT COURT
WESTERN DISTRICT OF VIRGINIA
Baby Doe, e+ al CASE NO.: 3:22cv00049

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Vv. ) DATE: 11/21/2023
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Joshua Mast, et al )
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TYPE OF HEARING: Motion Hearing Time in Court: \\:OS> \\V3S=30 Munutts

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PARTIES/SPEAKERS: |
l. USM] - Joel C. Hoppe 6 Rie Bovuetv
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4. Dowd Wevushalon 9. deputy clerk — Karen Dotson
5. MICHAeY Loe len 10.

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CD NO(S). Recorded using Cisco Conference Manager RECORDED BY: Karen Dotson
and saved to Harrisonburg’s I: drive

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